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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
                                                   :      Case No. 24-cr-00061 (RBW)
       v.                                          :
                                                   :      Status Hearing: April 5, 2024
                                                   :
MATTHEW BALLEK,                                    :
    Defendant.                                     :


       Upon consideration of the Consent Motion to Continue it is this ______ day of April

2024, hereby,

       ORDERED that the motion is GRANTED; it is further

       ORDERED that the status hearing previously scheduled for April 5, 2024, has been

rescheduled to _____________________, 2024.

       SO ORDERED.



                                           _______________________________________
                                           REGGIE B. WALTON
                                           UNITED STATES DISTRICT JUDGE
